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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

 

MAGGIE SMITH, e¢ al,
Plaintiffs,
v. Civil Action No. 15-737 (RCL)
DISTRICT OF COLUMBIA,
Defendant.
‘Lepeys S “ORDER a

 

Upon consideration of the Parties’ Joint Local Rule 16.3 Report, and the entire

record, it is ORDERED that the Parties adhere to the following schedule:

 

 

Event . Deadline
Initial Disclosures Thirty days from entry of the .
Scheduling Order

 

Fact discovery on liability and class issues | Six months from entry of the

completed Scheduling Order

 

Plaintiffs’ motion for summary judgment on| One month after the

liability due . completion of discovery

 

| Defendant’s Opposition and cross-motion on| Two months after the

liability due: completion of discovery

 

 

 

 
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Plaintiffs’ Reply and Opposition due

Three months after the

completion of discovery

 

Defendants’ Reply due

 

 

Two weeks after service of
Plaintiffs’ Reply and

Opposition

 

SO ORDERED.
Dated: ‘thas “9

Citys &. folie
THE HONORABLE ROYCE C. LAMBERTH

Judge, United States District Court
for the District of Columbia

 
